

Christa Constr., LLC v Vanguard Light Gauge Steel Bldgs. (2020 NY Slip Op 01984)





Christa Constr., LLC v Vanguard Light Gauge Steel Bldgs.


2020 NY Slip Op 01984


Decided on March 20, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 20, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, CURRAN, WINSLOW, AND BANNISTER, JJ.


197 CA 19-00854

[*1]CHRISTA CONSTRUCTION, LLC, PLAINTIFF-RESPONDENT,
vVANGUARD LIGHT GAUGE STEEL BUILDINGS, A DIVISION OR SUBSIDIARY OF SHELTER2HOME, LLC, DEFENDANT-APPELLANT. (APPEAL NO. 1.)






KUSHNICK PALLACI PLLC, BOHEMIA (JEFFREY A. LHUILLIER OF COUNSEL), FOR DEFENDANT-APPELLANT. 
ERNSTROM &amp; DRESTE, LLP, ROCHESTER (TIMOTHY D. BOLDT OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Ontario County (Frederick G. Reed, A.J.), entered November 6, 2018. The order, among other things, struck defendant's answer and counterclaims, granted plaintiff judgment on the issue of liability on its first cause of action for breach of contract, and set a date for an inquest on damages. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: March 20, 2020
Mark W. Bennett
Clerk of the Court








